Case 2:19-cv-00204-JAW Document 26 Filed 02/26/20 Page 1 of 7                         PageID #: 63




                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE

VINCENT T. HINOTE,

               Plaintiff,

       vs.                                                       Civil No. 19-204-JAW

LT. SCOTT JORDAN and KEVIN JOYCE,

               Defendants


 DEFENDANTS’ ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES AND
                    DEMAND FOR JURY TRIAL

       Defendants Scott Jordan and Kevin Joyce, by and through counsel, hereby respond to

the Plaintiff’s Complaint as follows:

       I.      The Parties to This Complaint

       A.      The Plaintiff(s). The Defendants are without sufficient information or knowledge

to form a belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       B.      The Defendant(s). The Defendants admit that they are named defendants in this

lawsuit with contact information as identified in this subparagraph of the Complaint. The

Defendants are without sufficient information or knowledge to form a belief as to the truth of

the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       II.     Basis for Jurisdiction

       1.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.
Case 2:19-cv-00204-JAW Document 26 Filed 02/26/20 Page 2 of 7                       PageID #: 64



       2.      This allegation is stated in support of Plaintiff’s First Amendment claim which

was dismissed by this court pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C. § 1915A(a) and

therefore, no response is required. To the extent a response is required, the allegations

contained in this paragraph of the Plaintiff’s Complaint constitute assertions of law to which no

response is required. Alternatively, the Defendants are without sufficient information or

knowledge to form a belief as to the truth of the allegations contained in this paragraph of

Plaintiff’s Complaint and, accordingly, deny same.

       3.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants deny the

allegations contained in this paragraph of Plaintiff’s Complaint.

       4.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       III.    Statement of Claim (enumeration continued from preceding section)

       5.      The Defendants admit that on April 7, 2019, Plaintiff told Scott Jordan that he

was booked under the incorrect name. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       6.      The Defendants deny that Plaintiff told Scott Jordan that he was booked under

the name of Jonathon Lee Hinote. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       7.      The Defendants admit that Scott Jordan arranged to have Plaintiff fingerprinted.

The Defendants are without sufficient information or knowledge to form a belief as to the truth

of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.


                                                 2
Case 2:19-cv-00204-JAW Document 26 Filed 02/26/20 Page 3 of 7                        PageID #: 65



        8.     The Defendants admit that the Federal Bureau of Investigation verified that

Plaintiff’s prints belonged to “Jonathon L. Hinote.” The Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

        9.     The Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

        10.    The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

        11.    The Defendants deny that Plaintiff was made to eat food trays consisting of only

one piece of bread and clear water. The allegations that Plaintiff was denied access to the courts

and law library are stated in support of claims which were dismissed by this court pursuant to

28 U.S.C. § 1915(e)(2) and 28 U.S.C. § 1915A(a). To the extent a response is necessary, the

Defendants are without sufficient information or knowledge to form a belief as to the truth of

these allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny

same.

        12.    The Defendants admit that Plaintiff was found guilty of rule violations by the

jail’s disciplinary board and sentenced to 15 days in the segregation unit. The Defendants are

without sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

        13.    To the extent this allegation is stated in support of Plaintiff’s First Amendment

claim which was dismissed by this court pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C. §

1915A(a), no response is required. To the extent this allegation is stated in support of Plaintiff’s

Eighth Amendment claim or a response is otherwise required, the Defendants deny the

allegations contained in this paragraph of Plaintiff’s Complaint.




                                                  3
 Case 2:19-cv-00204-JAW Document 26 Filed 02/26/20 Page 4 of 7                       PageID #: 66



        14.     To the extent this allegation is stated in support of Plaintiff’s First Amendment

claim which was dismissed by this court pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C. §

1915A(a), no response is required. To the extent this allegation is stated in support of Plaintiff’s

Eighth Amendment claim or a response is otherwise required, the Defendants deny the

allegations contained in this paragraph of Plaintiff’s Complaint.

        IV.     Relief

        The statements contained in this paragraph of the Plaintiff’s Complaint do not constitute

allegations of fact to which a response is required. Alternatively, the allegations contained in

this paragraph of the Plaintiff’s Complaint constitute assertions of law to which no response is

required. To the extent a response is required, the Defendants are without sufficient information

or knowledge to form a belief as to the truth of the allegations contained in this paragraph of

Plaintiff’s Complaint and, accordingly, deny same.

        V.      Certification and Closing

        The statements contained in this paragraph of the Plaintiff’s Complaint do not constitute

allegations of fact to which a response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

                                     AFFIRMATIVE DEFENSES

        1.      The Defendants have at all times acted in good faith and without knowledge that

their conduct violated any clearly established constitutional or statutory rights of the Plaintiff.

        2.      The Defendants’ conduct did not violate any clearly established constitutional or

statutory rights of the Plaintiff.

        3.      No reasonable person would have known that the Defendants’ conduct violated

any clearly established constitutional or statutory rights of the Plaintiff.




                                                  4
Case 2:19-cv-00204-JAW Document 26 Filed 02/26/20 Page 5 of 7                       PageID #: 67



       4.      To the extent that the Plaintiff endeavors to make a state claim grounded in tort,

the claim is barred by Plaintiff's failure to comply with the notice provisions of the Maine Tort

Claims Act, 14 M.R.S.A. § 8107.

       5.      To the extent that the Plaintiff endeavors to make a state claim grounded in tort,

the claim is barred by the personal immunity provisions provided to the Defendant by the Maine

Tort Claims Act, 14 M.R.S.A. § 8111(1)(C), (D) and (E).

       6.      The Plaintiff’s recoverable damages for tort claims are capped by the provisions

of the Maine Tort Claims Act.

       7.      To the extent that the Plaintiff’s Complaint seeks to impose liability on the

Defendants in their representative capacity, the Complaint fails to state a claim upon which

relief may be granted.

       8.      The Plaintiff’s own conduct was the sole or a contributing cause of his injuries.

       9.      The Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which

relief may be granted.

       10.     The Plaintiff’s claims are barred for the reason that the Defendants are not liable

under a theory of respondeat superior for the actions of their agents.

       11.     The Plaintiff’s claims are barred for the reason that the Defendants’ actions do

not constitute deliberate indifference or conduct which is shocking to the conscience.

       12.     The Plaintiff’s claims are barred for the reason that the allegations in the

Complaint allege simple negligence and the conduct complained of is not the type contemplated

under 42 U.S.C. § 1983.

       13.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of immunity.

       14.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of qualified

immunity.

       15.     The Defendants reserve the right to demonstrate Plaintiff’s claims are barred, in

whole or in part, by the applicable statutes of limitations.


                                                  5
Case 2:19-cv-00204-JAW Document 26 Filed 02/26/20 Page 6 of 7                           PageID #: 68



       16.       To the extent that the Plaintiff seeks injunctive or declaratory relief, the Plaintiff

has no standing.

       17.       The Plaintiff has adequate remedies under State law, and therefore no action lies

under 42 U.S.C. § 1983 in the Maine Constitution or the United States Constitution.

       18.       The Defendants reserve the right to demonstrate that the Plaintiff has failed to

mitigate damages.

       19.       The Plaintiff’s Complaint is frivolous and should be dismissed pursuant to 28

U.S.C. § 1915.

       20.       The Plaintiff’s claims are barred, in whole or in part, by the exhaustion of

remedies provisions in 42 U.S.C. § 1997(e). Porter v. Nussle, 534 U.S. 516 (2002).

       21.       The Plaintiff’s claims are barred, in whole or in part, to the extent they are not

based upon physical injury.

       22.       The Plaintiff’s Complaint, in whole or in part, fails to state a cognizable claim

under the Prison Litigation Reform Act.

       22.       To the extent the Plaintiff’s alleged injuries result from conditions that pre-

existed the events alleged in the Complaint, the Defendant cannot be held liable for the alleged

damages associated with those alleged injuries.

                                          JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the Defendants

request a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendants Scott Jordan and Kevin Joyce demand judgment in their

favor with regard to all claims of the Plaintiff’s Complaint, including an award of costs and

attorneys’ fees, if appropriate, and such other relief as the Court deems just.




                                                    6
Case 2:19-cv-00204-JAW Document 26 Filed 02/26/20 Page 7 of 7                     PageID #: 69



       Dated at Portland, Maine this 26th day of February, 2020.

                                     Attorneys for Defendants Lt. Scott Jordan and Kevin Joyce
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                                     Portland, ME 04112-7046
                                     (207) 774-3906
                              BY:    /s/ Laura A. Maher
                                     Laura A. Maher

                              BY:    /s/ John J. Wall, III
                                     John J. Wall, III




                                CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2020, I electronically filed Defendants’ Answer
and Affirmative Defense and Demand for Jury Trial using the CM/ECF system, which
will provide notice to all counsel of record. In addition, I hereby certify that on February 26,
2020, I served Plaintiff Vincent Hinote with a copy of the above-referenced document by first-
class mail, postage prepaid, at: Cumberland County Jail, 50 County Way, Portland, ME 04102
and Maine Correctional Center, 17 Mallison Falls Road, Windham, ME 04062.

       Dated at Portland, Maine this 26th day of February, 2020.

                                     Attorneys for Defendants Lt. Scott Jordan and Kevin Joyce
                                     MONAGHAN LEAHY, LLP
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                              BY:    /s/ Laura A. Maher
                                     Laura A. Maher




                                                7
